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          APPALACHIAN VOICES, ET AL v. EPA, ET AL
                         1:25-CV-01982-PLF




                         EXHIBIT 10

            Declaration of Hana Vizcarra

                         Earthjustice
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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA



 APPALACHIAN VOICES, et al., on behalf
 of themselves and those similarly situated,
                                 Plaintiffs,
 v.
                                                              Civil Action No. 1:25-cv-01982-PLF
 UNITED STATES ENVIRONMENTAL                                 (Class Action)
 PROTECTION AGENCY, et al.,
                                 Defendants.


           DECLARATION OF HANA VIZCARRA IN SUPPORT OF PLAINTIFFS’
                     MOTION FOR CLASS CERTIFICATION
       I, Hana Vizcarra, hereby declare under penalty of perjury that the following is true and

correct:

       1.        I am a Supervising Senior Attorney at Earthjustice, one of the country's premier

nonprofit public interest environmental law organizations. I am one of the attorneys for the

named Plaintiffs and the putative class members in this case. I am licensed to practice law in the

District of Columbia and admitted to the U.S. District Court for the District of Columbia.

       2.        I submit this declaration in support of the Plaintiffs’ Motion for Class

Certification.

       3.        I graduated from Georgetown University Law Center in 2010 and am admitted to

practice in the District of Columbia and Maryland and before this court. From 2010 until mid-

2018 I was an associate at two national law firms. I was in the environmental practice group of

Vinson & Elkins LLP and then at the environmental law firm Beveridge and Diamond, P.C. I

worked on complex environmental litigation, compliance, and transactional matters covering a

broad array of statutory areas and industries.
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         4.    In 2018, I joined Harvard Law School’s Environmental & Energy Law Program

as a Staff Attorney where I analyzed federal climate, environmental, and energy regulation and

policy and how federal actions comported with or affected the law. This included detailed

analysis of the federal government’s administrative actions and publication of scholarship.

         5.    I joined Earthjustice in November 2021 as a Senior Attorney. I became a

Supervising Senior Attorney in Fall 2023. At Earthjustice, I litigate cases involving federal

action on climate change, including challenging or defending federal agency actions. I am the

lead attorney on our litigation addressing the freeze of federal funding appropriated by the

Inflation Reduction Act, Cultivate KC, et al. v. USDA, 1:25-cv-00737-RC (filed March 13,

2025).

         6.    Founded in 1971, Earthjustice, a 501(c)(3) nonprofit, is a public interest

environmental law organization whose mission includes wielding the power of law and the

strength of partnership to protect people’s health, to advance clean energy, and to combat climate

change. Earthjustice’s over 200 full-time attorneys litigate regularly on behalf of community-

based organizations, tribes, and environmental groups and frequently bring complex litigation in

federal courts, including against federal agencies. Earthjustice has hundreds of cases currently in

litigation, including many Clean Air Act and Administrative Procedure Act matters and matters

before this court.

         7.    Earthjustice has significant knowledge and experience with the Inflation

Reduction Act (“IRA”) and the programs it funded. Many longstanding partners and clients are

recipients of these grants, and Earthjustice participated in the public comment period for various

IRA implementation rules. Since January, we have been closely tracking the developments

regarding the freeze and termination of IRA-funded grant programs. Earthjustice is currently
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litigating a case challenging the freeze of IRA funded grants at the USDA as well as a case

challenging terminations of USDA grants. See Cultivate KC et al. v. U.S.D.A. et al., Civil Action

No. 1:25-cv-00737-RC (D.D.C. Mar. 19, 2025); Urban Sustainability Directors Network, et. al

v. USDA, Civil Action No. 1-25-cf-01775 (D.D.C. June 5, 2025).

        8.      Earthjustice has assigned four qualified attorneys to litigate this case: myself,

Deena Tumeh, Linnet Davis-Stermitz, Molly Prothero, and Andrew Saavedra. The case team is

also relying on regular input and support from other experienced Earthjustice attorneys and

litigation support staff.

        9.      Deena Tumeh is a Senior Attorney at Earthjustice, where she has worked since

November 2020. She was first licensed to practice law in 2017. At Earthjustice, she has litigated

Clean Air Act lawsuits and a case challenging federal funding freezes, Cultivate KC v. U.S.D.A.

She previously clerked on the U.S. District Court for the Middle District of Alabama and the

U.S. Court of Appeals for the Eleventh Circuit. Before clerking, she worked as a fellow at Public

Counsel, where she was part of the team that litigated a class action, J.P. v. Sessions, No. 18-cv-

6081 (C.D. Cal.). She also contributed to research and drafting on two other class actions, Kevin

S. v. Blalock, No. 18-cv-896 (D.N.M.), and Stephen C. v. Bureau of Indian Education, No. 17-

cv-8004 (D. Ariz.).

        10.     Linnet Davis-Stermitz is Senior Counsel for Strategic Legal Advocacy at

Earthjustice, where she has worked since May 2024. At Earthjustice, she assists case teams in

navigating cross-cutting doctrinal challenges, including issues relating to justiciability,

jurisdiction, the scope of federal power, and judicial review of agency actions. Prior to joining

Earthjustice, she worked at Gupta Wessler, a plaintiffs’-side appellate and complex litigation

boutique, where she regularly counseled class-action attorneys and drafted briefs addressing
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complex litigation and class-certification questions at every level of the state and federal courts.

She has also served as a law clerk on the U.S. District Court for the Southern District of New

York and the U.S. Court of Appeals for the Ninth Circuit.

        11.     Molly Prothero is an Associate Attorney at Earthjustice, where she has worked

since September 2023. She was first licensed to practice law in 2021. At Earthjustice, she has

litigated Clean Air Act cases, as well as other environmental laws. She also has experience

litigating issues addressing the freeze or termination of federal funding appropriated by the

Inflation Reduction Act as part of the Cultivate KC case team. Prior to joining Earthjustice, she

worked as a Skadden Fellow/Staff Attorney at Bread for the City, where she built out a medical-

legal partnership to address the legal barriers to clients achieving better health outcomes.

        12.     Andrew Saavedra is an Associate Attorney at Earthjustice, where he has worked

since January 2025. He was first licensed to practice law in 2023. At Earthjustice, he has worked

with frontline groups facing hazardous waste pollution in their communities. Prior to joining

Earthjustice, he worked at the Public Utility Law Project of New York where he advocated on

behalf of low-income utility customers throughout the state before the Public Service

Commission.

        13.     In bringing this action, Earthjustice is co-counseling with experienced attorneys

from Southern Environmental Law Center, Public Rights Project, and Lawyers for Good

Government. In partnership with these organizations, Earthjustice has worked diligently to

investigate the specific claims in this case.

        14.     The organizations have committed significant resources to the preparation and

filing of this case. Earthjustice is prepared to commit the staff and resources necessary to

represent the class in this case and pursue the litigation to its resolution.
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        15.     Together, Earthjustice and Southern Environmental Law Center have committed

to paying all costs associated with this litigation.

        I declare under penalty of perjury that the foregoing is true and correct. Executed on June

25, 2025.

                                                ___________________________
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